                                                   Thursday, March 3, 2022 at 20:57:03 Central Standard Time


Subject:    Re: Andrews v. Tri Star Discovery
Date:       Wednesday, February 9, 2022 at 2:38:44 PM Central Standard Time
From:       Daniel Arciniegas
To:         Betsy Hart
CC:         Roland Mumford, Tara Swaﬀord
AEachments: image001[57].jpg, image002[55].jpg

Cannot agree Defendant’s proposed protective order as drafted. The definition for confidential is
overbroad and vague. Based on what we have not received I think this our fundamental stumbling
block. While there is a mechanism to challenge designations, I think that process unnecessarily
increases the expense when there is over-designation.

In addition,

       Section 7 – definition of “Witness” is vague – may be unduly restrictive – it needs to allow me
       to talk to potential witnesses – fact and expert.

       Section 10 is problematic – can’t compel someone to sign anything, and I shouldn’t have to
       incur the expense of a deposition if they refuse to sign.

There may be some aspects of the proposed protective order that are objectionable, but these are the
major ones.

Go ahead and file your motion for it. We will treat the material as if it is in effect until the Court makes
its determination. Production should no longer be delayed. Production will also to have more informed
discussions, and hopefully also to lessen the gap in our respective positions.

Also, like our client many current and former employees signed NDAs, or severance agreements that
we may need to go ahead and talk about having the Court address these, but that will likely be a
separate motion. I wanted to put that out there so if Defendant has any creative, less burdensome
thoughts on how to cure the “chilling effect” those may have on potential witnesses.




From: Betsy Hart <betsy@swaﬀordlawﬁrm.com>
Date: Tuesday, February 8, 2022 at 11:36 AM
To: Daniel Arciniegas <daniel@aWorneydaniel.com>
Cc: Roland Mumford <roland@mumfordlaw.net>, Tara Swaﬀord <tara@swaﬀordlawﬁrm.com>
Subject: Andrews v. Tri Star Discovery

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Daniel,

The .msg documents that were previously produced have been converted to PDFs. Those are attached with
new bates numbers.

We still have not received your client’s subsequent wage and income information that you indicated would be
produced by January 28. What is the status of that?

I have attached a revised proposed protective order that does not include a highly confidential designation
since, at this time, we do not plan to produce any documents that would fall into that category. By entering
into the attached protective order, Tri Star is not waiving its right to move for a new or amended protective
order that would include a highly confidential designation in the event it becomes necessary to produce
documents that should be designated at highly confidential and warrant greater protection. The proposed
order includes your requested changes that counsel can retain copies of all documents for a year after appeal
deadlines, and that the designating party is the one that should move for protection if there’s a dispute. Please
let me know if you can agree to this version of the protective order, with the understanding that Tri Star retains
its right to move for a new or amended order down the road if necessary, so that we can keep discovery
moving.

Please give me or Tara a call if you would like to discuss. Thanks.




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